

Matter of Black v Black &amp; Calabrese Interior Resource Co., LLC (2024 NY Slip Op 03593)





Matter of Black v Black &amp; Calabrese Interior Resource Co., LLC


2024 NY Slip Op 03593


Decided on July 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 3, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CURRAN, MONTOUR, DELCONTE, AND KEANE, JJ.


227 CA 23-00491

[*1]IN THE MATTER OF DOUGLAS W. BLACK, PETITIONER-APPELLANT,
vBLACK AND CALABRESE INTERIOR RESOURCE COMPANY, LLC, AND DOUGLAS CALABRESE, RESPONDENTS-RESPONDENTS. (APPEAL NO. 3.)






REFERMAT &amp; DANIEL PLLC, ROCHESTER (JOHN T. REFERMAT OF COUNSEL), FOR PETITIONER-APPELLANT.


Appeal from an order of the Supreme Court, Monroe County (John J. Ark, J.), entered December 16, 2022. The order, inter alia, directed that the proceeds of a bank account be paid to petitioner. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Hughes v Nussbaumer, Clarke &amp; Velzy , 140 AD2d 988, 988 [4th Dept 1988]; Chase Manhattan Bank, N.A. v Roberts &amp; Roberts , 63 AD2d 566, 567 [1st Dept 1978]; see also  CPLR 5501 [a] [1]).
Entered: July 3, 2024
Ann Dillon Flynn
Clerk of the Court








